                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

 Nicholas Franze & George Schrufer, Jr.,
 Individually and On Behalf of All Others
 Similarly Situated,

                     Plaintiffs,

          v.                                Case No. 7:17-cv-03556-NSR

 BIMBO FOODS BAKERIES
 DISTRIBUTION, LLC et al.

                     Defendants.


                  DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION
                  TO PLAINTIFFS’ MOTION TO DISMISS COUNTERCLAIMS




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                                              TABLE OF CONTENTS

                                                                                                                              Page
I.     INTRODUCTION ..............................................................................................................1
II.    FACTUAL ALLEGATIONS .............................................................................................2
III.   ARGUMENT .....................................................................................................................4
       A.        Plaintiffs Face A High Standard In Moving To Dismiss........................................4
       B.        Defendants’ Unjust Enrichment Counterclaims Are Not Precluded By The
                 Distribution Agreements Because Defendants Have Adequately Alleged
                 That The Counterclaims Are Alternative, Contingent Claims ...............................5
       C.        Defendants Adequately Plead Counterclaims For Unjust Enrichment That
                 Are Not Barred By The Voluntary Payment Doctrine ...........................................8
       D.        Defendants’ Unjust Enrichment Counterclaims Adequately Allege That
                 Plaintiffs’ Retention Of Benefits Under The Distribution Agreements
                 They Now Repudiate Would Constitute An Unjust Enrichment .........................10
IV.    CONCLUSION ................................................................................................................12




                                                                -i-
                                             TABLE OF AUTHORITIES
                                                                                                                          Page(s)

CASES

AFP Mfg. Corp. v. AFP Imaging Corp.,
  No. 17-CV-03292 (NSR), 2018 WL 3329859 (S.D.N.Y. July 6, 2018) ...................................5

Baker v. Groupware Int’l, Inc.,
   No. 807CV1564T23EAJ, 2008 WL 1820694 (M.D. Fla. Apr. 22, 2008)...............................12

CCM Rochester, Inc. v. Federated Inv’rs, Inc.,
  No. 14-CV-3600 (VEC), 2014 WL 6674480 (S.D.N.Y. Nov. 25, 2014)..................................4

Chao v. Akron Insulation & Supply, Inc.,
   No. 5:04-CV-0443, 2005 WL 1075067 (N.D. Ohio May 5, 2005), aff’d, 184
   F. App’x 508 (6th Cir. 2006).....................................................................................................7

Cordova v. FedEx Ground Package Sys., Inc.,
   104 F. Supp. 3d 1119 (D. Or. 2015) ........................................................................................11

Eidelman v. Sun Prod. Corp.,
   No. 16-CV-3914 (NSR), 2017 WL 4277187 (S.D.N.Y. Sept. 25, 2017)................................10

Fly Shoes s.r.l. v. Bettye Muller Designs Inc.,
    No. 14 CIV. 10078 LLS, 2015 WL 4092392 (S.D.N.Y. July 6, 2015).................................6, 7

Gao v. JPMorgan Chase & Co.,
   No. 14 Civ. 4281, 2015 WL 3606308 (S.D.N.Y. June 9, 2015) ...............................................6

Kirby McInerney & Squire, LLP v. Hall Charne Burce & Olson, S.C.,
   15 A.D.3d 233, 790 N.Y.S.2d 84 (2005)...................................................................................9

McFeeley v. Jackson St. Entm’t, LLC,
  No. CIV.A. DKC 12-1019, 2012 WL 5928769 (D. Md. Nov. 26, 2012)................................11

Purjes v. Plausteiner,
   No. 15-CV-2515 (VEC), 2016 WL 552959 (S.D.N.Y. Feb. 10, 2016).................................4, 5

Rothstein v. Mahne,
   No. 15-CV-3236 (VEC), 2015 WL 6828061 (S.D.N.Y. Nov. 5, 2015)....................................4

Ruffin v. Entm’t of the E. Panhandle,
   845 F. Supp. 2d 762 (N.D.W. Va. 2011)...........................................................................11, 12

Segovia v. Vitamin Shoppe, Inc.,
   No. 14-CV-7061 (NSR), 2016 WL 8650462 (S.D.N.Y. Feb. 5, 2016)...................................10

Spagnola v. Chubb Corp.,
   574 F.3d 64 (2d Cir. 2009) ..................................................................................................8, 10


                                                                -ii-
Stone v. Sutton View Capital, LLC,
   No. 17-CV-1574 (VEC), 2017 WL 6311692 (S.D.N.Y. Dec. 8, 2017) ....................................6

Thompson v. 1715 Northside Drive, Inc.,
   No. 1:14-cv-00390-RWS (N.D. Ga. Mar. 30, 2015), ECF No. 94............................................7

Trodale Holdings LLC v. Bristol Healthcare Inv’rs L.P.,
   No. 16 CIV. 4254 (KPF), 2018 WL 2980325 (S.D.N.Y. June 14, 2018) .................................4

Tutt v. Centex Home Equity Co., LLC,
    No. 1:04-CV-3527-MHS, 2005 WL 8155144 (N.D. Ga. June 1, 2005) .................................12

Vire v. Entergy Operations, Inc.,
    No. 4:15-CV-00214 BSM, 2016 WL 10575139 (E.D. Ark. Oct. 31, 2016) .......................7, 10

Zapata v. Flowers Foods, Inc.,
   No. 4:16-CV-676, 2016 WL 8738349 (S.D. Tex. Dec. 19, 2016) ..........................................11

STATUTES

Fair Labor Standards Act........................................................................................................passim

OTHER AUTHORITIES

Fed. R. Civ. P. 8(d)(3) .....................................................................................................................5

Fed. R. Civ. P. 12(b)(6) ...................................................................................................................4




                                                                    -iii-
I.     INTRODUCTION

       Plaintiffs are current and former independent contractors who contend that Defendants

Bimbo Foods Bakeries Distribution, LLC (“BFBD”) and Bimbo Bakeries USA, Inc. (“BBUSA”)

(collectively, “Defendants”) misclassified them in violation of the Fair Labor Standards Act and

related state laws. Contrary to the express representations in their contracts, Plaintiffs now claim

that they and the other independent contractors they seek to represent are actually employees to

whom Defendants owe unpaid overtime wages and other damages. Defendants disagree and will

be seeking summary judgment on contractor status, among other defenses. In the event that

Plaintiffs are found to be employees, however, Defendants filed counterclaims for unjust

enrichment (the “Counterclaims”) to recover the value of benefits Plaintiffs would never have

received as employees including, for example, the revenue they generated by buying then selling

BFBD products to their customers, the profits they generated from their sales of distribution

rights, and the revenue generated from commercial advertising agreements with BFBD.

       Despite the contingent nature of the Counterclaims, Plaintiffs prematurely ask this Court

to dismiss Defendants’ counterclaims so that they can pursue overtime wages as alleged

employees while purporting to retain the significant benefits they derived solely from their

independent contractor classification. In other words, Plaintiffs want the benefits of both

classifications. Defendants merely seek recompense for the windfall Plaintiffs would otherwise

receive if this Court ultimately rules that they were misclassified as independent contractors.

       As set forth below, Plaintiffs’ motion to dismiss the Counterclaims fails for several

reasons. First, Defendants’ unjust enrichment theory is not barred by Plaintiffs’ contracts

because it is pleaded as an alternative non-contract form of relief in the event that this Court

concludes that Plaintiffs are employees and/or renders the contracts void. Second, Defendants

have adequately pled that the benefits Plaintiffs received pursuant to their agreements were paid
solely on the basis of Plaintiff’s factual misrepresentation of their contractor status, and the

voluntary payment doctrine does not bar their claims at this stage. Finally, Defendants have

adequately pled all elements required to state an unjust enrichment claim.

II.    FACTUAL ALLEGATIONS

       Plaintiffs Franze and Schrufer purchased the right to sell certain bakery products within a

defined geographic territory and each entered into a Distribution Agreement1 with BFBD2 to do

so, thereby becoming independent contract distributors or what are commonly referred to in the

industry as Independent Operators (“IOs”). Dkt. 52, Counterclaim ¶¶ 9, 10, 15; Dkt. 56,

Counterclaim ¶¶ 6, 7, 12.3 Plaintiffs expressly acknowledge in the Distribution Agreements their

intent “to create an independent contractor relationship” with BFBD and that it is “the essence of

th[e] Agreement”4 that each Plaintiff “is an independent contractor for all purposes.” Dkt. 52,

Counterclaim ¶¶ 11, 18; Dkt. 56, Counterclaim ¶¶ 8, 15. Plaintiffs thus acknowledged their

rights to operate their independent contractor businesses as they saw fit, bearing all risks and

costs of operation and simultaneously repudiating any “claim [] to any benefits or other

compensation” paid to employees. Dkt. 52, Counterclaim ¶¶ 11, 12, 18, 19; Dkt. 56,

Counterclaim ¶¶ 8, 9, 15, 16. Thus, by entering the Distribution Agreements and accepting the


1
       Hereinafter referred to as the “Franze Agreement” and “Schrufer Agreement,” respectively and the
       “Distribution Agreements,” collectively.
2
       Plaintiff Franze originally purchased his distribution rights from The Charles Freihofer Sales Company,
       Inc., which is the other party to his Distribution Agreement; the Franze Distribution Agreement was later
       assigned to BFBD. See Dkt. 52, Counterclaim ¶¶ 9, 10; Dkt. 56, Counterclaim ¶¶ 6, 7.
3
       Defendants filed their nearly identical counterclaims in their respective answers to Plaintiffs’ Third
       Amended Complaint. For ease of reference, citations to the counter claim allegations in each document are
       to the docket entry for each (Dkt. 52 for BBUSA’s counterclaim and Dkt. 56 for BFBD’s counterclaim).
4
       In their Memorandum of Law in Support of Plaintiffs’ Motion to Dismiss Counterclaims (the “Motion” or
       “Plaintiff’s Motion”), Plaintiffs ignore or overlook that it was not Defendants who alleged “in conclusory
       fashion” that Plaintiffs’ status as independent contractors is the “essence” of the Distribution and
       Advertising agreements. Instead, it is Plaintiffs who expressly made that representation in their
       Distribution Agreements. Defendants’ Counterclaims merely repeat Plaintiffs’ representation in this
       regard.



                                                      -2-
benefits associated with them, Plaintiffs acknowledged and agreed to the financial arrangement

set forth therein. Dkt. 52, Counterclaim ¶¶ 35, 36; Dkt. 56, Counterclaim ¶¶ 32, 33.

       Taking advantage of their independent contractor status, Plaintiffs profited from the

operation of their distribution businesses in several ways that would have been unavailable to

them as employees. For example, Plaintiffs profited on the sale of bakery products purchased

from BFBD and then sold to Plaintiffs’ customers at a higher price. Dkt. 52, Counterclaim ¶¶

14, 20; Dkt. 56, Counterclaim ¶¶ 11, 17. Second, they entered into Advertising Agreements (not

available to employees) pursuant to which BFBD pays Plaintiffs to advertise on Plaintiffs’

clothing and vehicles. Dkt. 52, Counterclaim ¶¶ 21-33; Dkt. 56, Counterclaim ¶¶ 18-30.

Additionally, they profited by selling their distribution rights, as Plaintiff Schrufer did on July

16, 2017 for $71,914.00. Dkt. 52, Counterclaim ¶ 13; Dkt. 56, Counterclaim ¶ 10. Had

Plaintiffs been employees rather than contractors, as they now contend, none of the foregoing

revenue would have been available to them. Instead, it would have been retained by Defendants,

who would have sold their own products, would not have paid Plaintiffs for advertising, and

would have owned the distribution rights sold by Plaintiff Schrufer. Dkt. 52, Counterclaim ¶¶

28, 33, 41, 42, 45; Dkt. 56, Counterclaim ¶¶ 25, 30, 38, 39, 42.

       If Plaintiffs are deemed to be entitled to the benefits of employee status and

simultaneously permitted to retain the earnings they received as a result of their independent

contractor status, they will have been unjustly enriched at Defendants’ expense. Dkt. 52,

Counterclaim ¶¶ 40-45; Dkt. 56, Counterclaim ¶¶ 37-42. As Defendants allege, equity and good

conscience require the value of these benefits to be returned to them. Dkt. 52, Counterclaim ¶

45; Dkt. 56, Counterclaim ¶ 42.




                                                 -3-
III.   ARGUMENT

       A.      Plaintiffs Face A High Standard In Moving To Dismiss.

       “A motion to dismiss a counterclaim under Federal Rule of Civil Procedure 12(b)(6) is

subject to the same standard as a motion to dismiss a complaint.” See Trodale Holdings LLC v.

Bristol Healthcare Inv’rs L.P., No. 16 CIV. 4254 (KPF), 2018 WL 2980325, at *3 (S.D.N.Y.

June 14, 2018). “In evaluating a motion to dismiss, the Court must accept the well-pleaded

allegations of the Complaint as true and draw all inferences in the non-moving party’s favor.”

CCM Rochester, Inc. v. Federated Inv’rs, Inc., No. 14-CV-3600 (VEC), 2014 WL 6674480, at

*1 (S.D.N.Y. Nov. 25, 2014). “To survive a motion to dismiss for failure to state a claim upon

which relief can be granted, a [counterclaim] must contain sufficient factual matter, accepted as

true, to state a claim to relief that is plausible on its face.” Rothstein v. Mahne, No. 15-CV-3236

(VEC), 2015 WL 6828061, at *2 (S.D.N.Y. Nov. 5, 2015) (quoting Ashcroft v. Iqbal, 556 U.S.

662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)) (internal quotations omitted).

       Importantly, “[p]lausibility . . . is not certainty,” CCM Rochester, Inc., 2014 WL 6674480

at *1, and a “[counter]claim has facial plausibility when the [counterclaim plaintiff] pleads

factual content that allows the court to draw the reasonable inference that the [counterclaim

defendant] is liable for the misconduct alleged.” Rothstein, 2015 WL 6828061 at *2 (quoting

Iqbal, 556 U.S. at 678); Purjes v. Plausteiner, No. 15-CV-2515 (VEC), 2016 WL 552959, at *7

(S.D.N.Y. Feb. 10, 2016) (stating that at dismissal stage, a counterclaim need not “contain

detailed or elaborate factual allegations, but only allegations sufficient to raise an entitlement to

relief above the speculative level”) (quoting Keiler v. Harlequin Enters., Ltd., 751 F.3d 64, 70

(2d Cir. 2014) (internal quotations omitted)). Indeed, “[a]t this stage, dismissal is appropriate

only [if the movant] can prove no set of facts . . . that would entitle [the non-movant] to relief.”




                                                 -4-
Id. (quoting Meyer v. JinkoSolar Holdings Co., Ltd., 761 F.3d 245, 249 (2d Cir. 2014) (internal

quotations omitted)).

        B.      Defendants’ Unjust Enrichment Counterclaims Are Not Precluded By The
                Distribution Agreements Because Defendants Have Adequately Alleged That
                The Counterclaims Are Alternative, Contingent Claims.

        Plaintiffs contend that Defendants’ counterclaims for unjust enrichment should be

dismissed because Defendants alleged the existence of contracts between the parties. Motion at

5. The general rule stated by Plaintiffs is irrelevant here because Defendants have properly pled

their unjust enrichment counterclaim as an alternative claim contingent upon any determination

by this Court that Plaintiffs should have been classified as employees (which Defendants

dispute). Despite Defendants’ having alerted Plaintiffs to the contingent nature of the

Counterclaims in their May 17, 2018 pre-motion letter (Dkt. 61), Plaintiffs’ Motion nevertheless

fails to address the point.

        Defendants are entitled at the pleadings stage to “state as many separate claims or

defenses as [they have], regardless of consistency.” See Fed. R. Civ. P. 8(d)(3). In

acknowledging the permissive and liberal pleading standards of Rule 8, this Court has

specifically held that a party “may . . . plead unjust enrichment in the alternative” and that

the claim “may survive a motion to dismiss” when the party also “challenges the contract’s

validity,” provided the claim does not duplicate the party’s other claims. See AFP Mfg. Corp. v.

AFP Imaging Corp., No. 17-CV-03292 (NSR), 2018 WL 3329859, at *11 (S.D.N.Y. July 6,

2018) (Roman, J.). Defendants satisfy all of these requirements: the Counterclaims do not

duplicate any other claims, they are pled as an alternative theory in this litigation, and

Defendants challenge the validity of the Distribution Agreements in the event Plaintiffs are

determined to have been employees.




                                                 -5-
       This Court endorsed this approach in Gao v. JPMorgan Chase & Co., No. 14 Civ. 4281,

2015 WL 3606308, at *5 (S.D.N.Y. June 9, 2015). There, the Court rejected the argument that

plaintiff’s unjust enrichment claim was barred by existence of the written contract upon which

plaintiff was also pursuing a breach of contract claim because the claims were pled in the

alternative. The court explained that “if the validity or enforceability of a contract is in doubt or

uncertain, claims of unjust enrichment may survive a motion to dismiss.” Id. (internal citations

and quotations omitted). As such, if the Court “later determine[d] the contract unenforceable,

[it] could then consider in the alternative a claim for unjust enrichment.” Id. The Court refused

to determine the enforceability of the contract at the pleadings stage and denied the motion to

dismiss the unjust enrichment claim. Id. The same result is warranted here.

       As another basis to deny the Motion, alternative and even inconsistent theories are

generally permitted where, as here, the legal nature of a claimant’s right to recovery and its

opponent’s liability are contingent on facts or circumstances not yet known to the parties. Stone

v. Sutton View Capital, LLC, No. 17-CV-1574 (VEC), 2017 WL 6311692, at *5 (S.D.N.Y. Dec.

8, 2017) (“That the Defendants previously made arguments based on the written advisory

agreement does not estop them from pleading legitimate, alternative arguments when the facts

are unsettled and the controlling agreement is in doubt.”); Fly Shoes s.r.l. v. Bettye Muller

Designs Inc., No. 14 CIV. 10078 LLS, 2015 WL 4092392, at *6 (S.D.N.Y. July 6, 2015)

(denying motion to dismiss unjust enrichment claim when plaintiff alleged that its “unjust

enrichment claim [was] made in the alternative to the claim for breach of contract, to the extent

that the Court might find that [plaintiff] did not have contracts with [defendant]”). This is

precisely the case here. Defendants contend that the Court’s anticipated decision regarding

independent contractor status will impact the validity of the contracts through which Plaintiffs




                                                 -6-
received monetary benefits at Defendants’ expense that would not have been available to them as

alleged employees.

       Courts have reasoned in exactly this manner in the context of FLSA claims. In Vire v.

Entergy Operations, Inc., plaintiffs sought overtime wages under the FLSA based on

misclassification. Entergy Ops., Inc., No. 4:15-CV-00214 BSM, 2016 WL 10575139, at *6-7

(E.D. Ark. Oct. 31, 2016). The Court denied plaintiffs’ demand for summary judgment on

defendant’s unjust enrichment counterclaim to recover bonuses paid to plaintiffs to which only

exempt employees were entitled. Id. The Court agreed with defendant that, in light of the fact

that plaintiffs “now claim[e]d they were always non-exempt employees,” they were ineligible to

receive the bonuses in the first place and their retention of them would be unjust. Id. at *7. It

did not matter that plaintiffs “did not affirmatively hold themselves out as exempt employees” so

long as they “received something of value that they were not entitled to receive.” Id.

       Similarly, in Thompson v. 1715 Northside Drive, plaintiff sought to recover damages

under the FLSA on the theory that defendant had misclassified them as independent contractors.

Order on Mot. to Dismiss at 1-3, Thompson v. 1715 Northside Drive, Inc., No. 1:14-cv-00390-

RWS (N.D. Ga. Mar. 30, 2015), ECF No. 94. Defendant filed a counterclaim for unjust

enrichment to recover amounts to which it claimed plaintiffs would not be entitled had they been

classified as employees. Id. The Court declined to dismiss the counterclaim, reasoning that a

determination that plaintiffs were employees would be tantamount to a ruling that their

independent contractor agreements were therefore void. Id. at 11. Compare Chao v. Akron

Insulation & Supply, Inc., No. 5:04-CV-0443, 2005 WL 1075067, at *12 (N.D. Ohio May 5,

2005), aff’d, 184 F. App’x 508 (6th Cir. 2006) (stating that if collective bargaining agreements

with employees conflicted with the FSLA so as to exclude payment of travel time, such




                                                -7-
agreements would be invalid) (citing Brock v. City of Cincinnati, 236 F.3d 793, 808–09 (6th Cir.

2001) (“if the parties’ agreement . . . violated the [employees’] established FLSA rights, the

courts cannot enforce it regardless of its reasonableness”)).

        Defendants’ unjust enrichment counterclaims are properly pled as alternative claims

contingent upon subsequent rulings from this Court. As such, Defendants’ allegations

concerning the existence and validity of the Distribution and Advertising Agreements do not

preclude the counterclaims.

        C.     Defendants Adequately Plead Counterclaims For Unjust Enrichment That
               Are Not Barred By The Voluntary Payment Doctrine.

        Plaintiffs next argue that New York’s “voluntary payment” doctrine requires the

dismissal of Defendants’ Counterclaims insofar as it “bars recovery of payments voluntarily

made with full knowledge of the facts, in the absence of fraud or mistake of material fact or

law.” Motion at 6. Plaintiffs’ argument fails for multiple, independent reasons.

        First, Plaintiffs incorrectly argue that Defendants’ Counterclaims fail because they do not

allege facts to overcome the voluntary payment doctrine. Specifically, Plaintiffs assert that

“Defendants d[id] not allege that they made any mistake of fact or law in entering into the

[Distribution and Advertising Agreements] with Plaintiff[s].” Motion at 3, 6. The Second

Circuit has expressly rejected this argument, explaining definitively that Defendants are

“not required to preemptively plead facts refuting the voluntary payment doctrine.”

Spagnola v. Chubb Corp., 574 F.3d 64, 73 (2d Cir. 2009) (citing Abbas v. Dixon, 480 F.3d 636,

640 (2d Cir. 2007) (not required to include facts in complaint in anticipation of affirmative

defense)). As such, the voluntary payment doctrine does not bar Defendants’ Counterclaims at

this stage.

        Second, although Defendants were not required preemptively to allege facts to overcome



                                                -8-
the voluntary payment doctrine, Plaintiffs are incorrect in arguing that Defendants failed to do

so. Indeed, Plaintiffs’ Motion falsely states that “Defendants do not allege any mistake of fact or

law” and that “Defendants allege that they were fully aware of all of the facts and received the

benefits they contracted for with Plaintiffs” (Motion at 2, 6). Plaintiffs make these assertions

without any supporting citation whatsoever. It is troubling that Plaintiffs’ Motion perpetuates

this false assertion despite Defendants having comprehensively addressed it in their May 17,

2018 letter to the Court. Dkt. 61. As explained therein, the Counterclaims unequivocally allege

that Defendants relied to their detriment on Plaintiffs’ factual representations acknowledging

their independent contractor status, including those representations in the Distribution

Agreements.

       Turning to the allegations of the Counterclaims, Defendants have unequivocally alleged

that the payments and other benefits Plaintiffs received from Defendants were made on the basis

of Defendants’ mistaken reliance on Plaintiffs’ representations of their independent contractor

status (which Plaintiffs now disclaim) in their Distribution Agreements. Dkt. 52, Counterclaim

¶¶ 28-45; Dkt. 56, Counterclaim ¶¶ 25-42. Absent Plaintiffs’ representations, Defendants allege

that Plaintiffs would not have been entitled to or received these payments or benefits, the value

of which Defendants would have retained for themselves. Dkt. 52, Counterclaim ¶¶ 40-45; Dkt.

56, Counterclaim ¶¶ 37-42. These allegations articulate precisely the mistake of fact the

voluntary payment doctrine requires. See, e.g., Kirby McInerney & Squire, LLP v. Hall Charne

Burce & Olson, S.C., 15 A.D.3d 233, 790 N.Y.S.2d 84, 85 (2005) (affirming denial of motion to

dismiss unjust enrichment claim because voluntary payment doctrine does not apply where

payments were made on basis of mistake of fact).

       As set forth fully in the Defendants’ May 17, 2018 letter, at least one court has adopted




                                                -9-
this reasoning in similar circumstances. It is telling that Plaintiffs’ Motion nevertheless ignores

this decision entirely. As the court in Entergy Operations, Inc. explained, that defendant made

bonus payments to plaintiffs voluntarily “under the misunderstanding” of their [FLSA] exempt-

status was “not fatal to [its] unjust enrichment claim,” where “mistake” was an exception to the

“general rule” that “payments that are voluntarily made cannot be recovered.” Entergy Ops.,

Inc., 2016 WL 10575139, at *6-7. Here, too, Defendants’ allegations are sufficient at the

pleadings stage to survive dismissal. See Spagnola, 574 F.3d at 73 (denying motion to dismiss

claim on basis of voluntary payment doctrine where all reasonable inferences had to be drawn in

claimant’s favor).

       D.      Defendants’ Unjust Enrichment Counterclaims Adequately Allege That
               Plaintiffs’ Retention Of Benefits Under The Distribution Agreements They
               Now Repudiate Would Constitute An Unjust Enrichment.

       Plaintiffs final argument appears to be that Defendants’ unjust enrichment claim fails

because Defendants did not allege “an injustice.” Motion at 7-8. As an initial matter, “injustice” is

not even an element of an unjust enrichment claim under New York law. Instead, Defendants were

required to plead that (1) the Plaintiffs were enriched (2) at Defendants’ expense and (3) that equity

and good conscience require the Plaintiffs to make restitution. Eidelman v. Sun Prod. Corp., No.

16-CV-3914 (NSR), 2017 WL 4277187, at *6 (S.D.N.Y. Sept. 25, 2017) (Roman, J.); Segovia v.

Vitamin Shoppe, Inc., No. 14-CV-7061 (NSR), 2016 WL 8650462, at *10 (S.D.N.Y. Feb. 5, 2016)

(holding that unjust enrichment claim could not be dismissed where plaintiff alleged that defendant

was enriched at plaintiff’s expense and that it would be against equity and good conscience to

permit defendant to retain the benefit received). Defendants have done so, and Plaintiffs’ contrary

arguments fail to demonstrate otherwise.

       Specifically, Plaintiffs do not argue that Defendants’ allegations fail to state the elements of

this claim, which clearly they do. See Dkt. 52, Counterclaim ¶¶ 40-45; Dkt. 56, Counterclaim ¶¶


                                                -10-
37-42. Plaintiffs argue instead that they disagree with Defendants’ theory of the claim because

“there simply cannot be an injustice” where Defendants’ claim depends on a determination that

Defendants misclassified Plaintiffs under the FLSA. To that end, Plaintiffs rely heavily on the

readily distinguishable decision from Oregon in Cordova v. FedEx Ground Package Sys., Inc., F.

Supp. 3d 1119 (D. Or. 2015). There, defendant’s unjust enrichment claim filed against a third-

party defendant was dismissed because defendant did not seek to recoup benefits allegedly paid to

and unjustly retained by the third-party. Instead, it sought payment from the third-party in the

event that defendant was determined to be liable to Plaintiffs. The court ruled that this was a claim

for indemnity against the third-party, not unjust enrichment by the third-party, and thus dismissed

the claims. By contrast, Defendants here seek the return of benefits received and retained by

Plaintiffs directly at Defendants’ expense. See McFeeley v. Jackson St. Entm’t, LLC, No. CIV.A.

DKC 12-1019, 2012 WL 5928769, at *2-4 (D. Md. Nov. 26, 2012) (in FLSA case, holding that

unjust enrichment counterclaim seeking return of benefits received by plaintiffs in connection with

independent contractor status is not improper claim for indemnity); Ruffin v. Entm’t of the E.

Panhandle, 845 F. Supp. 2d 762, 766-69 (N.D.W. Va. 2011) (same). There is no indemnity claim

and thus the Cordova decision is irrelevant to the Motion.

       Finally, to the extent Plaintiffs assert that Defendants’ Counterclaims are a supposedly

improper attempt to obtain a “setoff” to Plaintiffs’ FLSA claims (Motion at 8), Defendants fully

addressed this argument in their May 17, 2018 pre-motion letter (Dkt. 61). As discussed in

Defendants’ letter, courts have routinely permitted counterclaims, including those for unjust

enrichment, that practically operate as setoffs to FLSA claims. See Zapata v. Flowers Foods, Inc.,

No. 4:16-CV-676, 2016 WL 8738349, at *1 (S.D. Tex. Dec. 19, 2016); McFeeley v. Jackson St.

Entm’t, LLC, No. CIV.A. DKC 12-1019, 2012 WL 5928769, at *2-4 (D. Md. Nov. 26, 2012);




                                                -11-
Ruffin v. Entm’t of the E. Panhandle, 845 F. Supp. 2d 762, 766-69 (N.D.W. Va. 2011); Baker v.

Groupware Int’l, Inc., No. 807CV1564T23EAJ, 2008 WL 1820694, at *1 (M.D. Fla. Apr. 22,

2008); Tutt v. Centex Home Equity Co., LLC, No. 1:04-CV-3527-MHS, 2005 WL 8155144, at *1-

2 (N.D. Ga. June 1, 2005). Plaintiffs’ Motion notably fails to address these decisions previously

brought to Plaintiffs’ attention and Plaintiffs’ argument on this point should be rejected.

IV.    CONCLUSION

       For the foregoing reasons, Plaintiffs’ Motion should be denied.

Dated: July 30, 2018                                Respectfully submitted,
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                                                 -12-
                                CERTIFICATE OF SERVICE

       I, Melissa C. Rodriguez, hereby certify that on July 30, 2018, a true and correct copy of

Defendants’ Memorandum of Law in Opposition to Plaintiffs’ Motion to Dismiss Counterclaims

was served by email and U.S. mail on the following


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